THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

SHAWN JOHNSON,

Plaintiff,

Cause No. 4:12-cv-00622-SNLJ
V.

FARM BUREAU MUTUAL INSURANCE
COMPANY,

 

Defendant.

PLAINTIFF'S MOTION TO COMPEL DISCOVERY
AND RULE ON DEFENDANT'S OBJECTIONS

COMES NOW Plaintiff Shawn Johnson ("Plaintiff"), by and through undersigned
counsel, and pursuant to Federal Rules of Civil Procedure 26 and 33 and Local Rule 37 - 3.04,
hereby moves this Court for an Order overruling Defendant Farm Bureau Mutual Insurance
Company's ("Defendant") objections and ordering it to provide substantive answers to Plaintiff's
discovery, and in support thereof states as follows:

1. This breach of contract action arises out of a motor vehicle collision occurring on
November 20, 2009, in Johnson County, Missouri between Plaintiff and Kevin Brothers, an
underinsured motorist.

2. At that time, Plaintiff was an insured, under a policy of underinsured motorist
insurance coverage maintained by Brett Grimm through Defendant.

3. Defendant denied Plaintiffs claim for payment under this underinsured motorist
policy.

4, Accordingly, Plaintiff brought suit against Defendant for breach of contract to
enforce the underinsured motorist coverage, as well as a claiming vexatious refusal to pay.

5. On or about June 25, 2012, Plaintiff sent his First Set of Interrogatories and First
Request for Production of Documents directed to Defendant.

6. On or about August 8, 2012, Defendant answered Plaintiffs discovery, objecting
to numerous Interrogatories and Requests for Production. Defendant's Answers are attached
hereto as Exhibit 1 and Exhibit 2.

7. Plaintiff took issue with several of these objections, claiming the objections were
inappropriate under Missouri and Federal law and without merit. Pursuant to L.R. 37-3.04(A),
Plaintiffs counsel made a good faith effort to resolve this discovery dispute. See Exhibit 3.

8. Plaintiff's counsel also conferred with Defendant's counsel by telephone on
September 12, 2012, attempting to resolve this discovery dispute.

9. Defendant has not withdrawn its objections.

10. Specifically, Defendant objection to Requests 1, 5, 6, 12, 14, 15, 16, 17 and 18.
Further, Defendant objected to Interrogatories 12, 17, 20, 23, 24, and 25. The information
requested is directly at issue in the current litigation, extremely probative, and Defendant's
assertions of work product and relevancy are inappropriate as the Plaintiff's claims are directed at
Defendant's conduct and handling of Plaintiff's insurance claim.

WHEREFORE, Plaintiff Shawn Johnson prays this Court enter an Order compelling
Defendant Farm Bureau Mutual Insurance Company to provide substantive responses and
documents responsive to his discovery requests, and such other and further relief this Court

deems necessary and proper.
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CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing was served upon the parties by U.S.
Mail, postage prepaid, this 1st day of October, 2012 to the following:

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/s/ Matthew T. Nagel
